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                           UNITED STATES DISTRICT COURT

                                  DISTRICT OF MAINE


JAMES BAINES,                              )
                                           )
              Plaintiff,                   )
                                           )
       v.                                  )                 1:19-cv-00509-LEW
                                           )
SHENNA BELLOWS,                            )
Secretary of State for the                 )
State of Maine,                            )
                                           )
              Defendant                    )


                 SUMMARY JUDGMENT PROCEDURAL ORDER

       The parties’ competing motions for summary judgment are presently under

advisement. Following a review of the Secretary of State Shenna Bellows’s Statement of

Material Facts and the supporting declarations executed by Deputy Secretary of State Julie

Flynn, clarification of a factual issue is hereby ordered.

       Deputy Secretary Flynn declares that voter registration cards are processed at the

local level by municipal registrars and clerks. The registrant simply completes a “voter

card” that provides the required information and a statement of intent regarding enrollment.

Flynn Decl. ¶ 5 (ECF No. 18-1). She also declares that the “party seeking to qualify may

circulate and collect voter cards from voters and submit them to the local registrars of the

towns where the voters reside,” id. ¶ 8 (emphasis added), and that “[i]f the voter is changing

enrollment from a qualified party (Republican, Democratic, or Green Independent) to a
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party that is in the process of qualifying or has qualified, their new enrollment remains

“pending” in the CVR for a period of 15 days after the registrar receives the application,”

id. ¶ 10. What Deputy Secretary Flynn’s declaration does not state is that voters may, on

their own initiative, change their enrollment to a party seeking to qualify by mailing a voter

registration card or appearing at their municipal office to do so.

       Citing the declaration, the Secretary offers the statement that a voter who wishes to

change enrollment into a party “in the process of qualifying … may do so at any time by

completing and submitting a voter reg card.” DSMF ¶ 5 (ECF No. 53). Plaintiffs admit this

statement. PRSMF ¶ 5 (ECF No. 57-1). However, ambiguity remains. When a voter

completes and submits a voter registration card who does the voter submit the card to? The

party seeking to qualify? The local registrar? Either one?

       Through her more recent supplemental declaration, Deputy Secretary Flynn asserts

that “[v]oters wishing to be counted toward the 10,000 voter participation threshold for a

party to maintain qualified status under 21-A M.R.S. § 301(1)(E) may enroll in the relevant

party up until the day of the general election …. Supp. Flynn Decl. ¶ 25 (ECF No. 49)

(emphasis added). This statement only tends to enhance the ambiguity described above.

       In order to ensure that a decision on the parties’ motions includes an accurate

statement of administrative procedure, which procedure should be uncontested, the parties

are directed to file a stipulation of fact within seven days of this order that resolves the

ambiguity described above. Specifically, the parties will stipulate whether voters are free

to submit voter registration cards to their local registrars directly by mail or in person to



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enroll in a party seeking qualified status; i.e., after the party’s declaration of intent is

certified but before the party is formally qualified.


       SO ORDERED.

       Dated this 3rd day of June, 2021.

                                            /s/ Lance E. Walker
                                           UNITED STATES DISTRICT JUDGE




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